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IN THE UNITED STATES DISTRICT URT Cyn 475.,

FOR THE DISTRICT OF NEW JERS Mh °C Q
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Camden Division OS™
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IMAD DAWARA, “any
Petitioner, Ny
Vv. Civ. No.: wr
R. THOMPSON,
Warden, FCI Fort Dix,
Respondent .

PETITIONER'S MEMORANDUM OF LAW IN SUPPORT
OF HIS PETITION FOR EXPEDITED REVIEW
FOR WRIT OF HABEAS CORPUS
Pursuant to 18 U.S.C. § 2241

On the brief:

Imad Dawara
Petitioner Pro Se
Reg. No. 69939-066
FCI Fort Dix

P.O. Box 2000
Joint Base MDL, NJ
08640-5433
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I. INTRODUCTION

Imad Dawara, ''Petitioner'' pro se, appearing in the above-captioned
matter and hereby respectfully petitions this Honorable Court for the issuance
of an Order granting a Writ of Habeas Corpus in accordance with Section 2241
of Title 28 of the United States code. Petitioner seeks emergency injunctive

relief on the grounds listed hereinbelow.
a. Parties

1. Petitioner, Imad Dawara, Reg. No. 69939-066 is a federal prisoner
currently held in the custody of the Federal Bureau of Prisons ("BOP") at
Federal Correctional Institution ("FCI") Fort Dix, located at Joint Base
Maguire-Dix-Lakehurst ("JB MDL"), a military installation located in

southern New Jersey, in the county of Burlington.

2. Respondent, Ms. R. Thompson, is the current warden of FCI Fort Dix, and an
employee of the Department of Justice, Federal Bureau of Prisons. Warden
Thompson is the federal official currently having custody of the
Petitioner during his incarceration and is thus properly named as the

Respondent in this habeas action. See 28 U.S.C. §§ 2241, 2242.
b. Jurisdiction and Venue

This litigation is a civil action seeking habeas corpus relief under
28 U.S.C. § 2241. Petitioner asserts that he is being held in violation of
the Constitution and laws of the United States. Thus, 28 U.S.C. § 2241

confers the subject-matter jurisdiction upon this Court.

Petitioner specifically challenges the BOP's refusal to place
Petitioner on home confinement under the CARES Act of 2020, and alleges that

refusal is a violation of his Constitutional rights to equal protection under
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the law and his due process rights, which are protected under the Fifth and
Fourteenth Amendments to the U.S. Constitution, and violate the "cruel and
unusual punishment" prohibitive under the Eighth Amendment. These violations
are due to BOP's erroneous designation of Petitioner as a "violent offender,"
which effectively rendered him as ineligible for placement on home confinement
under the CARES Act, even as Petitioner is suffering from a serious and
emergent medical condition which elevates his risk to infectious diseases like
COVID-19, meningitis, influenza, chicken pox, and shingles, etc. Petitioner
challenges the determination by the BOP that his inchoate conspiracy
conviction is violent. Petitioner further alleges that BOP has made an
erroneous determination that he has a past history of a violent offense.
Petitioner argues that BOP has wrongfully utilized an outdated definition of a

violent offense in BOP Program Statement § 5162.05.

Therefore, this is a "federal question" concerning laws of the United
States, and interpretation of those laws by a federal agency. As such, the
subject-matter jurisdiction of this Court is hereby properly invoked under 28

U.S.C. § 1331.

As Petitioner challenges the administrative actions of the BOP which
implicate and deprive the Petitioner of his civil rights and liberty interests
under the Constitution's Fifth, Eighth, and Fourteenth Amendments, the
subject-matter jurisdiction of this Court is hereby and properly invoked under
28 U.S.C. § 1343(a)(3) and (4) and under the Administrative Procedures Act, 5
U.S.C. §§ 701-706. Additionally, this Court's jurisdiction may be
supplemented by the availability of remedies provided by the Declaratory
Judgment Act, 28 U.S.C. §§ 2201, 2202, and the All Writs Act, 28 U.S.C. §
1651.
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Venue is proper within this district as it is the district of the
Petitioner's confinement against the federal officer having custody over the
Petitioner's person and the acts and omissions complained of herein have
rendered injury upon the Petitioner in this district, under 28 U.S.C. §

1291(b) and (e), and § 2241.
TII. BACKGROUND
A. Imad Dawara's Underlying Criminal Conviction

On June 22, 2021, Imad Dawara was sentenced after pleading guilty on
two counts: Count One (1), Conspiracy to Commit Arson, in violation of 18
U.S.C. § 844(n); and, Count Two (2), Conspiracy to Defraud the United States,

in violation of 18 U.S.C. § 371. See United States v. Imad Dawara, Case Nos.:

19-cr-414-1, and 20-cr-104-1 (E.D.PA.) (See EXHIBIT A: Judgment in a Criminal
Case, dated 6/28/2021)

Petitioner has been in federal custody since October 16, 2019.

Petitioner was sentenced by the Honorable Juan Sanchez, Eastern
District Court of Pennsylvania, to a term of 108 months incarceration, with a

term of 5 years supervised release.

Petitioner was committed to federal custody on July 7, 2021, with

credit for time served on pretrial beginning on October 16, 2019.

B. Dawara's Medical Background

As early as.Qctober 2022, Petitioner began experiencing symptoms of

heart disease, as his attached medical records will show. (See EXHIBIT B:
Medical Records for Imad Dawara) Petitioner has experienced episodes of
shortness-of-breath, dizziness, chest pain, racing heart beat, and even

Syncope, which has resulted in seven (7) trips to the hospital via ambulance
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since June 11th, 2023, with the latest on October 18th. He has notified BOP
Health Service's staff dozens of times, and has even gone as far as keeping a

daily record of his symptoms. (See EXHIBIT C: Symptom Event Diary)

Petitioner submitted an official request for release to home
confinement under the CARES Act as early as April of 2023, due to his elevated
risk to infectious diseases. (See EXHIBIT D: Administrative Remedy for CARES)
Even as Petitioner meets the guidelines set by Attorney General's William Barr
and Merrick Garland for prioritized release to home confinement under CARES,
the BOP denied his request on May 8, 2023, because the BOP considered his
Conspiracy charge ''violent."' In the attached exhibit, we see that his
counselor on June 6th stated his denial for CARES Act was due to having only
served 40% of his sentence, and that the BOP considered his Conspiracy
conviction "violent.'"" In fact, Petitioner has served more than 65% of his
sentence, and Conspiracy charges are considered inchoate and by definition,

non-violent, as will be discussed herein.

Petitioner experienced a heart attack on June 11, 2023, and
subsequently received emergency surgery at Deborah Heart and Lung Center on
June 12, 2023, to install two stents to open blocked arteries leading into his
heart. It was determined that Dawara's smaller heart vessels are also

blocked, but these vessels are too small for stents. Petitioner was diagnosed

at this time with chronic ischemic heart disease.

Chronic ischemic heart disease, also known as coronary artery disease
("CAD"), is a prevalent cardiovascular condition characterized by the
narrowing or blockage of coronary arteries, which supply oxygen and nutrients
to the heart muscle. It poses significant health risks, as reduced blood flow

to the heart can lead to chest pain (angina) and increse the likelihood of
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heart attacks.

In addition, on August 16, 2023, Dr. Steven Douedi at Deborah Heart
and Lung Center discovered damage to Petitioner's heart, documenting
“infarction of the interior wall from apex to base, extending to the
apicolateral segment.'' The doctor explained that this damage was likely the
result of the heart attack Petitioner experienced on June 11, 2023, and
further explained that the proper treatment and monitoring necessary is not
something the Bureau of Prisons is willing to perform. As of September 5,
2023, Petitioner's heart beats at 55% capacity, which has resulted in
significant diminishing of oxygen in his blood-stream. He experiences these
life-threatening symptoms daily, which means he is routinely unable to walk
the 30 minute round-trip to the prison-'s chow hall for meals, three times
each day. FCI Fort Dix is the largest federal prison in the country, which
means Petitioner is unable to ambulate the compound regularly. At present
time he is unable to engage in all normal activities of daily living. As
such, this means that his condition is not being adequately managed, and his

release to home confinement is warranted.

At present calculation, taking into account 486 days of projected and
earned good time credits ("GCI"), and including more than 300 days of federal
Earned Time Credits ("FIC"), the Petitioner's projected release date is set
for June 16, 2026, without the granting of this motion.

III. DISCUSSION

A. Legal Standard

Title 28, Section 2243 of the United States Code provides in relevant nart as

follows:

A court, justice or judge entertaining an application for a writ of

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habeas corpus shall forthwith award the writ or issue an order
directing the respondent to show cause why the writ should not be
granted, unless it appears from the application that the applicant
or person detained is not entitled thereto.

A pro se pleading is held to less stringent standards than more

formal pleadings drafted by lawyers. Estelle v. Gamble, 429 U.S. 97, 106, 97
S. Ct. 285, 50 L. Ed. 2d 251 (1976); Haines v. Kerner, 404 U.S. 519, 520, 92

S. Ct. 594, 30 L. Ed. 2d 652 (1972). A pro se habeas petition must be
construed liberally. See Hunterson v. DiSabato, 308 F.3d 236, 243 (3d Cir.
2002) .

To obtain preliminary injunctive relief, the moving party must
demonstrate: (1) a reasonable likelihood of success on the merits; (2)
irreparable injury if the requested relief is not granted; (3) the granting of
preliminary injunction will not result in greater harm to the non-moving

party; and (4) the public interest weighs in favor of granting the injunction.

Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017), as amended
(June 26, 2017).

B. Analysis
1. Conditions of Confinement

The United States will argue that this Court lacks jurisdiction over
this petition because it does not concern the "core" of habeas. 'The ‘core’
habeas corpus action is a prisoner challenging the authority of the entity
detaining him to do so, usually on the ground that his predicate sentence or

conviction is improper or invalid." McGee v. Martinez, 627 F.3d 933, 935 (3d

Cir. 2010) (citing Leamer_v. Fauver, 288 F.3d 532, 542 (3d Cir. 2002)).

Section 2241 "confers habeas jurisdiction to hear the petition of a federal

prisoner who is challenging not the validity but the execution of his

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sentence."’ Coady _v. Vaughn, 251 F.3d 480, 485 (3d Cir. 2001). "Examples of

habeas claims that affect the duration of confinement include parole

challenges. loss of good time credits and incorrect sentence calculations."

Wrage v. Ortiz, No. 20-5496, 462 F. Supp. 3d 476, 2020 U.S. Dist. LEXIS 92033,
2020 WL 2745247, at *14 (D.N.J. May 27, 2020). "Conversely, when the challenge
is to a condition of confinement such that a finding in plaintiff's favor
would not alter his sentence or undo his conviction," a civil action IS the

Proper method to seek relief. Leamer, 288 F.3d at 542.

Petitioner argues that BOP's denial of his CARES Act request to
return to home confinement because he is a "violent offender" is erroneous, as
his conviction for conspiracy charges are, at the core of the definition of
inchoate, non-violent. Petitioner argues that his severe medical
circumstance, coupled with BOP's insufficient response to his emergent medical
needs make his continued detention within the federal Prisons cruel and
unusual, and therefore unconstitutional. The BOP has failed to provide
Petitioner with adequate, timely and preventative medical testing, treatment,

and follow-up, and is resulting in irreparable harm to Petitioner.

Justice Renee Bumb, District of New Jersey, noted in Wragg, supra,
that the Supreme Court in dicta left open the possibility that prisoners might
be able to challenge their confinement conditions via a petition for a writ of
habeas corpus in exceptional circumstances. See 2020 U.S. Dist. LEXIS 92033,
WL at *15 (citing Bell v. Wolfish, 441 U.S. 520, 526 n.6, 99 S. Ct. 1861, 60

L. Ed. 2d 447 (1979); Preiser v. Rodriguez, 411 U.S. 475, 499, 93 S. Ct. 1827,
36 L. Ed. 2d 439 (1973)).

Petitioner asks this Court to consider his failing medical condition,

lack of appropriate testing, treatment and preventative care, and the

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emergence of COVID-19 at Petitioner's facility, as an exceptional
circumstance, and grant him a writ of habeas corpus. Petitioner is at real.

tisk to suffer irreparable harm in the absence of injunctive relief.
2. Exhaustion of Administrative Remedies

Petitioner sought relief with the BOP by pursuing administrative
remedy in accordance with 28 C.F.R. § 542.10-19; BOP Program Statement

P1330.18; and, FCI Fort Dix Tnstitutional Sunplement FTC 1330.18.

There is an adminstrative remedy exhaustion requirement applicable to
Petitioner for writ of habeas corpus under 28 U.S.C. § 2241, but there are

exceptions to the requirement. See Cerverizzo v. Yost, 380 F. App. x 115, 116

(3d Cir. 2010) (citing Woodall _v. Fed. Bureau of Prisons, 432 F.3d 235, 239

n.2 (3d Cir. 2005); Schandelmeier_v. Cunningham, 819 F.2d 52, 53 (3d Cir.
1986); Cambino_v. Morris, 134 F.3d 156, 171 (3d Cir. 1998) (Roth, J.,

Concurring )).

The exhaustion requirement mav be waived when pursuit of

administrative remedies would be futile. Woodall, supra; Fuller_v. Rich, 11

F.3d 61, 62 (Sth Cir. 1994); Fraley v. U.S. Bureau of Prisons, 1 F.3d 924, 925

(9th Cir. 1993); Taylor v. U.S. Treasury Dep't, 127 F.3d 470, 477 (5th Cir.

1997). Where an inmate alleges the BOP's regulations or procedures themselves
are unconstitutional, exhaustion of administrative remedies is excused. See

Totaro _v. Warden Fort Dix FCI, 742 Fed. App'’x 596, 598 (3d Cir. 2018);

Gallegos-Hernandez v. United States, 688 F.3d 190, 194 (5th Cir. 2012);

Woodall, 432 F.3d at 239 n.2.

As detailed herein, Petitioner will show that exhaustion of

administrative remedies in this case would be futile as his medical situation
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is emergent and severe, and the Bureau of Prisons’ administrative remedy
process, even while containing an exception for "emergency medical
situations", is routinely ignored by the BOP. See BOP Program Statement P.S.
1330.18 § 542.18. "If the Request is determined to be of an emergency nature
which threatens the inmate's immediate health or welfare, the Warden shall

respond not later than the third calendar day after filing." (emphasis added)

The time required to exhaust the BOP's administrative remedy process
takes approximately six to eight months, and would eliminate the immediate
need for remedy Dawara is petitioning this Court for. Therefore, Petitioner
is engaging the textual exception to exhausting his administrative remedies
available in the Prison Litigation Reform Act of 1995, 18 U.S.C. § 3626, that

he exhausts those remedies that "are available."

In an effort to not only exhaust his administrative remedies, but
also to actually petition BOP to address his serious need for relief, on June
6, 2023, Petitioner submitted a BP-8 "Informal Resolution Form" to his
Counselor at FCI Fort Dix. A review of the attached Administrative Remedy
will show that Petitioner has sought resolution of this matter with the BOP,
pursuant to 28 C.F.R. § 542.13(a), FID 1330.18, and P1330.18. FCI Fort Dix
denied the Petitioner's BP-8 filing on June 27, 2023, which was an untimely

denial by BOP.

On July 5, 2023, Petitioner submitted a BP-9 "Request for
Administrative Remedy" form to the Warden of FCI Fort Dix, pursuant to 28
C.F.R. § 542.14, FID 1330.18, and P1330.18. This BP-9 filing was timely-

filed by Petitioner, and was assigned Remedy ID Number 1170112-F1.

On August 14, 2023, the Petitioner's BP-9 request for relief was

denied hy Acting Warden, Andy Cruz. Nor was it even considered by the Warden

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for the three day "emergency review" protocol.

On August 25, 2023, Petitioner attempted to file his BP~10 "Regional
Office Administrative Remedy Appeal'’ form to BOP's Northeast Regional
Director, Ms. Amy Boncher, in Philadelphia, Pennsylvania, pursuant to 28
C.F.R. § 542.15 and P1330.18, but his Counselor was not available to accept

any legal mail until August 28th.

Even as BOP policy statement P1330.18 § 542.18 states "[R]esponse
shall be made .-- by the Regional Director within 30 calendar days." § 542.18
goes on to say "If the time period for response to a Request or Appeal is
insufficient to make an appropriate decision, the time for response may be
extended by ... 30 days at the regional level ... Staff shall inform the

inmate of this extension in writing."

As of the writing of this brief no response has been received from
the Regional Director, nor has the Petitioner received any notice of an
extension in writing from the Regional Director. Petitioner's administrative
remedy has been delayed at every level by the BOP, even as his medical
condition is severe and deteriorating rapidly. Administrative remedy with the

BOP in this matter is futile and delay is causing irreparable harm to

Petitioner.

As of the writing of this motion (October 24th) Petitioner still has
not received a response from the Regional Director on his BP-10, nor has he
received a written notice of an extention needed. He intends to consider his
BP-10 constructively denied on October 28th, and will proced with a BP-11 to
the Central Office of the BOP. Another example of administrative remedy being

made unavailable by the BOP.

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As set forth here, Imad Dawara, Petitioner pro se, has exhausted all
administrative remedies available to him, pursuant to 42 U.S.C. § 1997(e)(A),
and 28 C.F.R. § 542.15. As such, Petitioner's request for injunctive relief

from this Court to prevent irreparable harm is justified and timely.
3. The CARES Act of 2020

On March 20, 2020, President Trump signed the Coronavirus Aid,
Relief, and Economic Security ("CARES") Act into law. As it applied to
federal prisons, the CARES Act granted significant power and authority to the
Bureau of Prisons in allowing them to send medically-vulnerable prisoners to
home confinement. This would not only take the sick and elderly inmates out
of harm's way, but it would allow prisoners remaining locked up more
opportunity to social distance. On April 3, 2020, then Attorney General,
William Barr, provided guidance to the BOP on how to "prioritize" the inmates

being considered for release to home confinement under CARES.

Looking back it became apparent that those guidelines were too
restrictive, and many inmates who should have been released under CARES Act
languished in prison, many of whom died. At FCI Fort Dix, where Petitioner is
incarcerated, more than 2,500 inmates tested positive for COVID-19, meaning
that it is the most infected federal prison in the country. Even today, FCI
Fort Dix is experiencing it's seventh (7th) known outbreak, with COVID-
positive inmates on both of the prison's compounds, and heing h
units 5706 and 5851, the unit next-door to Petitioner's (5852). (See FXHIRIT
E: Memorandum for All Staff, dated Ontoher 19, 20232) The COWVID-nositive
inmates are being housed in the same facility where inmate Dawara has his

laundry washed, and where he is issued clothing to wear each week. 5851 has a

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shared ventilation system with the laundry facility, and officers working with
the COVID-positive inmates are routinely rotated into Petitioner's housing

unit.
4. BOP's Documented Problems with Chronic Care Patients

The government will argue that chronic medical conditions can be
managed in prison, and that Petitioner's medical conditions are being properly
managed. However, the issue is that he is unable to perform all activities of
daily living, and is continuing to suffer chest pain and shortness-of-breath
daily, so his medical conditions are not being adequately managed. The BOP's
handling of chronic care patients, like Petitioner, can be seen as problematic
at best, and there is a long-documented history of issues the BOP has faced in

dealing with chronic care patients.

Most medical treatment is provided through the Health Services
department at each federal prison. [Health Care for Federal Prisoners]

Congressional Research Service. https://crsreports.congress.gov/. Even as

each of these facilities has the equipment, space, and offices to perform
necessary treatment, the BOP is drastically short-staffed and is unable to
meet a minimum standard of care. This means that there is no one to perform
the necessary testing, monitoring, and treatment on the more-than 4,000
inmates currently residing at FCI Fort Dix. The problems in treating chronic
care patients for the BOP remain pervasive, mostly due to the aforementioned
staff shortages. The overwhelming shortages of staff mean that medical staff,
psychology staff, and chaplains are routinely working as Correctional Officers

in housing units instead of performing their necessary duties.

In a recent Forbes magazine article by Mr. Walter Pavlo who is the

founder of Prisonology (prisonology.com), a group of former BOP employees

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working in criminal defense, and who specialize in medical malpractice within
the federal prisons, Pavlo details the challenges of healthcare within the BOP
and their difficulties following federal and state policies regarding proper
medical care for inmates. [Federal Bureau of Prisons’ Medical Care Falls

Short of its Own Policy], https://www.forbes.com/sites/walterpavlo (April 19,

2022). In that Forbes article Pavlo discusses the BOP's Patient Care program
statement, and the serious miss as a result of staffing shortages. The BOP's
stated guidelines for each federal prison states that, for every 1,000
inmates, the BOP is to staff 1 physician, 3 mid-level practitioners, 1
registered nurse, 1 or 2 practical nurses and/or medical assistants, 2 health
information technicians, and a medical clerical staff. With more than 4,000
inmates, this requires FCI Fort Dix to have on staff at least 12 mid-level

practioners, to which Fort Dix currently staffs four.

In a March 2022 audit by the Office of the Inspector General ("OIG"),
Department of Justice, the OIG issued a report on audits of three BOP
contracts awarded to provide comprehensive medical services to federal

prisoners for more than $304 million. (https://oig. justice.gov/sites/default

[files/reports/22-052.pdf) The report's conclusions were:

"(T]he BOP did not have a reliable, consistent process in place to
evaluate either the timeliness of inmate healthcare or the quality
of that care ... we believe it is difficult for the BOP to determine
whether inmates are receiving care within the required community
standard." Id., citing the OIG Report.

Also in an interview for Forbes magazine, Correctional Officer's
Union President Aaron Mcglothin (FCI Mendota), responding to a question
whether his facility could pass Primary Care Provider policy and standards
tests for the BOP, he stated: "I know our facility definitely does not meet

that criteria. We have over 1,300 inmates and we would not pass that type of

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inspection but then again the only inspections that happen at our facilities

are by agency representatives who cover for management.'’ (emphasis added)

Meg Anderson, with National Public Radio ("NPR") has also
investigated the problems with health care in federal prisons, researching
deaths of people who died during or shortly after their release from federal
prison. [1 in 4 Inmate Deaths Happens in the Same Federal Prison. Why? ]
https://npr.or2g/2023 /09/23/1200626103/federal-prison~deaths~butner-~medical-

Center-sick-inmates, September 23, 2023. (See EXHIBIT F: Transcripts of NPR

Broadcast, dated September 23, 2023) Records obtained by NPR from the Bureau
of Prisons show at least 4,950 people died in its custody over the past
decade. Although there are 122 federal prisons nationwide, a quarter of those
deaths occurred in a single prison: the Butner Federal Medical Center in
Butner, North Carolina. The prison hospital at Butner is the bureau's largest
cancer treatment facility. More people in BOP custody die of cancer and heart

disease than any other causes.

Sources repeatedly told NPR that too often federal prisons fail to
treat serious illnesses like heart disease and cancer fast enough. NPR found
numerous accounts of inmates nationwide going without needed medical care.
Many waited months or even years for treatment, including inmates with
obviously concerning symptoms: unexplained bleeding, a suspicious lump, chest

pain, etc. Many of those suffered serious consequences, including death. Id.

When it is finally determined by BOP that someone is seriously ill
with something like cancer or serious heart disease, the BOP eventually sends
these inmates to a facility like the Federal Medical Center at Butner, where
they are supposed to get more specialized treatment. Too often those

prisoners arrive at Butner too late, and the doctors are only able to provide

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those sick inmates with the minimum of care to keep them comfortable while
they die. Both current and former inmates and medical staff within the Bureau
of Prisons told NPR the federal prison system has serious issues with delays
in care and staffing shortages. The BOP claims to meet the same medical
standards as any independent hospital, stating on its website that it is
accredited by the nation's leading accreditation agency. NPR's investigators

discovered that the BOP's certifications have lapsed more than two years ago.

NPR's sources for their investigation and broadcast determined that,
federal inmates, without the ability to access healthcare on their own, are
dying much more often than they should. "Deaths in custody should be rare
events, given that this is such a controlled environment," says Michele
Deitch, director of the University of Texas at Austin's Prison and Jail
Innovation Lab. ''Are there preventable deaths happening in the BOP? The

answer to that is clearly yes."" The Bureau of Prisons refused to interview

with NPR for this broadcast.
5. Conspiracy to Commit Arson is NOT a "Crime of Violence"
18 U.S.C. § 16 has defined "crime of violence" as follows:

(a) an offense that has as an element the use, attempted use, or
threatened use of physical force against the person or property of
another; or

(b) any other offense that is a felony and that by its nature,
involves a substantial risk that physical force against the person
or property of another may be used in the course of committing the
offense.

The Supreme Court stated in Johnson v. United States, 576 U.S. 591,

135 S. Ct. 2558, 192 L.Ed 2d 569 (2015), that "The Residual Clause leaves
uncertainty about how much risk it takes for a crime to qualify as a violent

felony. The definition of violent felony provides in full:

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The term "violent felony" means any crime punishable by imprisonment
for a term exceeding one year, or any act of juvenile delinquency
involving the use or carrying of a firearm, knife, or destructive
device that would be punishable by imprisonment for such a term if
committed by an adult that -

(i) has as an element the use, attempted use or threatened use
of physical force against the person or property of another; or

(ii) is burglary, arson, or extortion, involves use of

explosives, or otherwise involves conduct that presents a
serious potential risk of physical injury to another.

Paragraph (i) of the definition of violence felony is known as the
"force" or "elements" clause. Paragraph (ii) makes up what is known as the

“enumerated-offenses' clause and the "residual'' clause. United States v.

Bentley, 49 F.4th 275 (3d Cir. 2022)

Some difficulties began when the Supreme Court held in Taylor v.

United States, 495 U.S. 575, 602, 110 S.Ct. 2143, 109 L.Ed 2d 607 (1990) that
classification as violent under the Armed Career Criminal Act ("ACCA")
requires a “categorical'' approach. Under the categorical approach, deciding
courts must ignore the specific facts of the criminal and ask instead whether
the elements of the crime are no broader than general terms. Id. at 600. The
categorical approach made it difficult to predictably apply the “residual

clause", as the clause itself references "conduct."

In Johnson v. United States, 576 U.S. 591, 135 S.Ct. 2551, 192 L.Ed

2d 569 (2015), the Supreme Court reviewed the residual clause in the ACCA and
found that the residual clause is unconstitutionally vague because it required

' which was then to be

a judicial assessment of some undefined "ordinary case,'
used to determine the requisite "serious potential risk of physical injury."
Id. As a result, the Supreme Court ruled that "imposing an increased sentence

under the residual clause violates the Constitution's guarantee of due

process." Id. at 2563.
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Following Johnson, the Supreme Court reviewed residual clauses in
other criminal statutes to determine if they passed constitutional muster. In

Sessions v. Dimaya, 138 S.Ct. 1204, 200 L. Ed. 2d 549 (2018), the Court

addressed 18 U.S.C. § 16, which defined "crime of violence" in the following

Manner

(a) an offense that has as an element the use, attempted use, or
threatened use of physical force against the person or property of
another, or

(b) any other offense that is a felony and that, by its nature,
involves a substantial risk that physical force against the person

Or property of another may be used in the course of committing the
offense. 138 S.Ct. at 1211 (quoting 18 U.S.C. § 16).

The Supreme Court ruled that the residual clause, Section 16(b), was

unconstitutionally vague for the same reasons that the residual clause in

Johnson fell short. Id. at 1211-12, 1213-15.6.

The Supreme Court, since their decisions in Johnson and Dimaya, have

struck down other residual clauses. See Baptiste v. Att'y General, 841 F.3d

601, 615-21 (3d Cir. 2016); see also United States v. Davis, 139 S.Ct. 2319,

204 L.Ed 2d 757 (2019), in which the Supreme Court struck down the residual
clause in 18 U.S.C. § 924(c)(3)(B)'s definition of a "crime of violence" as
unconstitutionally vague. The U.S. Sentencing Commission also struck down a

clause that mirrored the residual clause out of U.S.S.G. § 4B1.2(a). See Brown

v. United States, 139 S.Ct. 14, 15, 202 L.Ed 2d 302 (2018).

Imad Dawara was convicted of Conspiracy to Commit Arson and
Conspiracy to Defraud the United States. His crime is inchoate, and is non-
violent. We ask the Court to recognize the rulings listed herein, and issue a

writ of habeas corpus.

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IV. CONCLUSION

The prima facie evidence in this matter is clear and overwhelming:
Imad Dawara is suffering; he is unable to complete activities of daily living;
his medical condition is rapidly deteriorating due to chronic ischemic heart
disease; the Bureau of Prisons is delaying and neglecting appropriate medical
treatment; the Bureau of Prisons is unnecessarily delaying Petitioner's
administrative remedies, in violation of his rights to due process and access
to the Courts; and Petitioner's medical condition would be better and more

timely managed while on home confinement.

Imad Dawara respectfully implores this Honorable Court to consider
the compelling circumstances presented in this case and then issue a writ of
habeas corpus. The neglected medical care endured by the Petitioner under the
jurisdiction of the Bureau of Prisons has not only let to undue suffering but
has also raised profound questions about the duty of care owed to incarcerated
individuals. We ask that the Court, in its wisdom and fairness, will take
into account the undeniable consequences of this negligence on the

Petitioner's health and well-being.

While justice demands accountability for any wrongdoing, it is
equally important to uphold the principles of compassion and humanity, even
within the criminal justice system,. Granting writ of habeas corpus to
Petitioner would not only rectify the injustice suffered by the Petitioner but
would also reaffirm the Court's commitment to ensuring that all individuals,
regardless of their circumstances, receive adequate medical care while in
custody, or be allowed to return to society under home confinement where they
can seek more appropriate and more timely medical care. Petitioner

respectfully submits that mercy in this matter is not a matter of leniency but

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a testament to the Court's dedication to justice, equity, and the preservation

of human dignity.

Date: /O - 27- 2023

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Respectfully submitted,

Imad Dawara

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